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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
FARHAD AZIMA,
ALG TRANSPORTATION, INC.,
MAIN 3260 LLC,
FFV W39 LLC, and
FFV DEVELOPMENT LLC,                                       22 Civ. 8728 (PGG) (JW)

              Plaintiffs,

       - against -
                                                      MEMORANDUM OF LAW IN
DECHERT LLP,                                        OPPOSITION TO NICHOLAS DEL
DAVID NEIL GERRARD,                                ROSSO AND VITAL MANAGEMENT
DAVID GRAHAM HUGHES,                                      SERVICES, INC.’S
NICHOLAS DEL ROSSO,                                     MOTIONS TO DISMISS
VITAL MANAGEMENT SERVICES, INC.,
AMIT FORLIT,
INSIGHT ANALYSIS AND RESEARCH LLC,
SDC-GADOT LLC,
AMIR HANDJANI,
ANDREW FRANK, and
KARV COMMUNICATIONS,

              Defendants.

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                                PRELIMINARY STATEMENT

       Nicholas Del Rosso and Vital Management Services, Inc. (the “Del Rosso Defendants”)

played a leadership role in planning and orchestrating the Enterprise’s1 criminal scheme and

received millions of dollars for their work. See, e.g., Compl. ¶¶ 18, 47, 236. They repeatedly

obstructed justice by creating false documents, destroying evidence, pressuring witnesses, and

paying witnesses for false testimony, all of which sought to, and achieved, the Enterprise’s goal

of harming Azima and his businesses through litigation. In seeking dismissal, they distort the

Complaint’s detailed allegations and attempt to repackage this dispute as a hacking case foreclosed

by other litigation, but they ignore the Complaint’s allegations of fresh criminal conduct that

resulted in new injuries within the statute of limitations period. The motion should be denied.

                      SUMMARY OF PLAINTIFFS’ ALLEGATIONS

I.     THE DEL ROSSO DEFENDANTS’ LEADING ROLE IN THE ENTERPRISE

       Plaintiffs are the victims of a sprawling conspiracy to manufacture and prosecute legal

claims against them and to obstruct justice as part of an effort to obtain a financially ruinous

judgment against them. Id. ¶ 207. Del Rosso, individually and through his one-man company,

Vital, played a leadership role in developing and implementing the plan to attack the Enterprise’s

enemies through a multi-year campaign of computer hacking, illegal surveillance, witness

tampering and intimidation, obstruction of justice, perjury, money laundering, bank fraud, and

wire fraud. Id. ¶¶ 47–48, 121–23, 151–52, 207, 241. Dechert hired Del Rosso to steal data,

including by hacking, and to disseminate the stolen materials, obstruct U.S. court proceedings, and

manipulate U.S. law enforcement into investigating Azima to harm him and his businesses. Id. ¶¶




1 Plaintiffs adopt the definitions used in their Omnibus Opposition and Complaint for any
capitalized term.
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18–19.2 Del Rosso also recruited, directed, and led a team of co-conspirators who executed the

Enterprise’s Plan. Id. ¶¶ 48, 209. They included Aditya Jain and his companies, the hacking

company CyberRoot, Paul Robinson, and Patrick Grayson—whom Del Rosso collectively paid

substantial sums of money through Vital and their lawyers. Id. ¶¶ 26(g), 26(i), 48, 166.

       The Complaint alleges that the Del Rosso Defendants committed predicate acts of

obstruction of justice, id. ¶¶ 213–16, witness tampering, id. ¶¶ 218–19, money laundering, id. ¶¶

221–22, mail and wire fraud, id. ¶¶ 223–30, and bank fraud, id. ¶ 236. Del Rosso met regularly

with other Enterprise members to plan attacks on Azima, including deploying false statements in

the U.S. and U.K. courts and to U.S. law enforcement agencies in order to further the Enterprise’s

goal of inflicting financial and reputational harm on Azima. Id. ¶¶ 32, 35, 54, 78, 153.

II.    THE 2020 NORTH CAROLINA PROCEEDING3

       In October 2020, Azima sued Del Rosso and Vital in North Carolina for the 2015–2016

hacking and subsequent publication of his stolen data. Id. ¶ 144. Other than the fact that Azima,

Del Rosso, and Vital are parties in both cases, that litigation is different. None of the other 13

parties here is involved in the North Carolina litigation (the “2020 North Carolina Proceeding”),

nor do any of those 13 parties have known connections to North Carolina. The claims presently at

issue there—a claim for misappropriation of trade secrets and a conspiracy claim connected to

hacking Azima and leaking his data—do not cover the Del Rosso Defendants’ significant misdeeds

after that suit was filed (i.e., obstruction, widespread fraud on the U.S. court system, and harming




2 Del Rosso testified at the U.K. trial regarding his work and involvement with the investigation
of Azima. Dechert’s Gerrard also testified about Del Rosso’s work. As such, to the extent his work
for Dechert was somehow privileged, that privilege has been waived.
3The 2020 North Carolina Proceeding is further described in the Omnibus Opposition, Summary
of Plaintiffs’ Key Allegations. See Omnibus Opp’n at 8-13.


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Azima through the media, litigation, and law enforcement investigations). The relief requested in

there also cannot remedy the fraud on the courts or economic damage to Azima’s businesses.

III.   THE DEL ROSSO DEFENDANTS’ OBSTRUCTED U.S. LEGAL PROCEEDINGS

       The Del Rosso Defendants conspired to obstruct pending U.S. litigation—to drive up

Plaintiffs’ litigation costs and impede their ability to seek a remedy for the Enterprise’s

misconduct. In 2019, Del Rosso, Gerrard, and Grayson agreed to anonymously send some of

Azima’s stolen data directly to a federal judge in Washington, D.C. to improperly influence that

case. Id. ¶ 122. In November 2020, Del Rosso created false evidence, destroyed documents, and

threatened a witness to obstruct the 2020 North Carolina Proceeding. Id. ¶¶ 147–53, 173, 241. He

and Grayson conspired to hack lawyers who threatened to expose the Enterprise. Id. ¶¶ 165–69.

Del Rosso also impeded Azima’s efforts to obtain discovery by submitting false statements in an

18 U.S.C. § 1782 proceeding in North Carolina. Id. ¶ 176–77. As a result of these obstructive acts,

Plaintiffs suffered losses in the millions of dollars, including attorneys’ fees and other litigation

costs. Id. ¶ 181. The Del Rosso Defendants’ actions also directly caused banks to deny loans to the

Plaintiff Entities, including the 2019 denial of a $13.5 million loan to finance multi-unit apartment

complexes in Kansas City. Id. ¶ 180. When the loan was denied and Azima could not secure

alternative financing, he and his companies suffered approximately $15 million in lost profits. Id.

                                          ARGUMENT4

I.     THE DEL ROSSO DEFENDANTS PARTICIPATED IN THE RICO ENTERPRISE.

       The Del Rosso Defendants deny that the Complaint alleges that they participated in the

operation and management of the Enterprise. The Complaint says otherwise. The Second Circuit




4Plaintiffs incorporate their Opposition to Defendants’ Omnibus Motion to Dismiss (Omnibus
Opp’n). Accordingly, the standard of review is not repeated. See Omnibus Opp’n at 14-16.


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has held that the “operation or management” test adopted in Reves v. Ernst & Young, 507 U.S.

170, 185 (1993) is a “relatively low hurdle for plaintiffs to clear.” Plaintiffs need only show that a

defendant played “some part in directing the enterprise’s affairs.” D’Addario v. D’Addario, 901

F.3d 80, 103–04 (2d Cir. 2018). “[D]iscretionary authority in carrying out the instructions of the

[enterprise’s] principals” alone is sufficient to satisfy the “operation or management” requirement.

Chevron Corp. v. Donziger, 974 F. Supp. 2d 362, 576 (S.D.N.Y. 2014). A defendant’s active

assistance in carrying out schemes devised by the Enterprise’s mastermind also meets the test. See

id. (defendants participated in mastermind-defendant’s operation and management by actively

helping him loot estate); see also Baisch v. Gallina, 346 F.3d 366, 376 (2d Cir. 2003) (defendant

participated in the operation and management of enterprise by, inter alia, recruiting financing,

issuing fraudulent insurance certificates, and concealing deceptive payroll practices).5

       The Complaint alleges in detail6 that Del Rosso exercised significant discretionary

authority over the Enterprise and used Vital to fund the operation. Dechert hired Del Rosso to

conduct illegal hacking operations, disseminate the stolen materials, obstruct U.S. court

proceedings, and manipulate U.S. law enforcement into investigating Azima. Compl. ¶¶ 18–19.

Del Rosso oversaw those who executed the Enterprise’s plan. Id. ¶¶ 26(g), 26(i), 48, 166. He



5 Rather than focus on the Second Circuit standard, the Del Rosso Defendants rely on out-of-circuit
cases that impose a different legal standard. They point to Yellow Bus Lines, Inc. v. Drivers,
Chauffeurs & Helpers Local Union 639, 913 F.2d 948, 954 (D.C. Cir. 1990) to argue Plaintiffs
must allege that a defendant engaged in “guidance, management, direction or other exercise of
control” over the Enterprise’s activities and must have participated, to some extent, in “running
the show.” See Mem. of Law in Supp. of Mot. to Dismiss (“Del Rosso Br.”) at 11 (Feb. 28, 2023). And
they cite Jones v. Meridian Towers Apartments, Inc., 816 F. Supp. 762, 771-772 (D.D.C. 1993),
to suggest that “mere participation” is insufficient. See Del Rosso Br. at 11. Because those cases
employ a different standard, they are entirely inapt.
6 The Del Rosso Defendants argue the Complaint is conclusory, and yet they cite only three
paragraphs of a more than 200 paragraph Complaint that mentions Del Rosso 170 times.


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participated in regular meetings in New York with other Enterprise members to plan attacks on

Azima, including false statements in the U.S. and U.K. courts, and with U.S. law enforcement

agencies in order to inflict harm on Azima. Id. ¶¶ 32, 54. He directed the obstruction of U.S.

proceedings, including directing Jain to destroy documents and create a false contract for use in

litigation, anonymously mailing hacked documents to the D.C. court, and hacking lawyers

representing a victim of the Enterprise. Id. ¶¶ 121–22; 148–51; 165–66, 241. And he received

millions for this work, reflecting that he was a central figure in the Enterprise. See Compl. ¶¶ 47,

236.

        The Del Rosso Defendants ignore the Complaint’s allegations and claim that they simply

performed services for Dechert in return for payment and hired third parties to do their work for

them. See Del Rosso Br. at 11–12.7 The Complaint clearly alleges, however, that the Del Rosso

Defendants (1) actively participated in and (2) directed third party co-conspirators to engage in the

illicit conduct. Id. ¶ 26(i) (Jain and Cyber Defense acted at the direction of Del Rosso to hack

Azima and others); id. ¶ 26(g) (Paul Robinson was paid to hack and steal victims’ data and reported

to Del Rosso); id. ¶ 48 (Del Rosso directed a co-conspirator to pay CyberRoot $450,000); id. ¶

122 (Del Rosso created a complicated scheme to anonymously mailing stolen documents to court);

id. ¶ 146 (Del Rosso hired Jain on behalf of the Enterprise to hack Azima); id. ¶ 149 (Del Rosso

deleted an account containing communications with co-conspirators relevant to a U.S.

proceeding); id. ¶¶ 157, 159 (Del Rosso submitted false statements to U.S. courts denying


7 The Del Rosso Defendants’ reliance on Feirstein v. Nanbar Realty Corp., 963 F. Supp. 254, 258
(S.D.N.Y. 1997), Goren v. New Vision Int’l, Inc., 156 F.3d 721, 728 (7th Cir. 1998), and other,
out-of-circuit cases for the sweeping conclusion that performance of, and payments for, services
do not meet the management or operation test is unconvincing. See Del Rosso Br. at 11. They were
not just unwitting instruments of the Enterprise’s scheme, as in Feirstein. The Complaint alleges
they colluded to create and execute the Enterprise’s Plan, participated in regular strategy meetings,
and hired and directed co-conspirators to carry out the Plan. Compl. ¶¶ 18, 19, 32, 54, 145-60.


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involvement in the hacking of Azima); id. ¶ 165 (Del Rosso directed hackers to obtain information

about Azima’s litigation funding); id. ¶ 166 (Patrick Grayson admitted to hacking Al Sadeq’s

lawyers at Del Rosso’s direction); id. ¶ 177 (Del Rosso falsely denied hacking Al Sadeq’s attorneys

in a U.S. court proceeding); id. ¶ 209 (Del Rosso engaged hackers to execute the Enterprise’s

affairs); id. ¶¶ 218–19 (Del Rosso knowingly fabricated false evidence); id. ¶ 236 (Del Rosso

Defendants used PNC Bank to pay hackers more than $1 million for their illegal conduct); id. ¶ 19

(Vital received and transferred funds to promote the Enterprise’s illegal activities).8 Thus,

Plaintiffs have sufficiently alleged the Del Rosso Defendants’ participated in the RICO

Enterprise.9

II.    PLAINTIFFS’ CLAIMS ARE NOT BARRED BY COLLATERAL ESTOPPEL OR
       RES JUDICATA.

       A.      The Del Rosso Defendants Bear the Burden of Showing That the Affirmative
               Defenses of Collateral Estoppel and Res Judicata Apply.

       Res judicata and collateral estoppel are affirmative defenses a defendant must plead and

prove. See Fed. R. Civ. P. 8(c) (listing estoppel as an affirmative defense); Austin v. Fischer, 453

F. App’x 80, 82 (2d Cir. 2011). Dismissal of a claim based on affirmative defenses is a “difficult

road.” Garcia v. Does, 779 F.3d 84, 96–97 (2d Cir. 2015); see Magi XXI, Inc. v. Stato Della Cità



8 The Del Rosso Defendants once again attempt to reduce the Complaint’s substantial obstruction
allegations down to mere “litigation activities” or “concealment” to shield them from RICO
liability. See Del Rosso Br. at 10, 12. The allegations against the Del Rosso Defendants—which
include destruction of documents, threatening witnesses, bribing witnesses, creating fake evidence,
and hacking lawyers, Compl. ¶¶ 83-160, 177, 218-19, go well beyond ordinary litigation activities
and demonstrate their role in the operation and maintenance of the Enterprise. See also Omnibus
Opp’n at 26-32 (explaining why Defendants’ obstruction-related activities are RICO predicates
and not mere “litigation activities” or “concealment.”)
9 In one sentence, the Del Rosso Defendants argue that Plaintiffs have failed to allege their
conspiracy claim. See Del Rosso Br. at 12-13. As explained above and in their Omnibus
Opposition, Plaintiffs have adequately pled a RICO cause of action, and therefore, their conspiracy
claim is well-pled. See Omnibus Opp’n at 58.


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Del Vaticano, 22 F. Supp. 3d 195, 201 (E.D.N.Y. 2014) (“[N]either [res judicata nor collateral

estoppel] will typically serve as the basis for a . . . motion to dismiss.”). Dismissal based on these

doctrines is only warranted if “it is clear from the face of the complaint” that the affirmative

defense applies. See, e.g., Austin, 453 F. App’x at 82–83; see also Deswal v. U.S. Nat’l Ass’n, 603

F. App’x 22, 23–24 (2d Cir. 2015). The Del Rosso Defendants have not met that heavy burden.10

       B.      Collateral Estoppel Does Not Bar Plaintiffs’ Claims.

       The Del Rosso Defendants attempt to invoke the doctrine of collateral estoppel based upon

an inapposite ruling on a different issue, on unrelated claims, with different limitation periods, in

an ongoing case in North Carolina. Their attempt necessarily fails.

       “Collateral estoppel only ‘applies when (1) the issues in both proceedings are identical, (2)

the issue in the prior proceeding was actually litigated and actually decided, (3) there was [a] full

and fair opportunity to litigate in the prior proceeding, and (4) the issue previously litigated was

necessary to support a valid and final judgment on the merits.’” Epperson v. Ent. Express, Inc.,

242 F.3d 100, 108 (2d Cir. 2001) (quoting United States v. Hussein, 178 F.3d 125, 129 (2d Cir.

1999)). “Collateral estoppel does not prevent a litigant from raising, in a later proceeding, an issue

that he could have, but did not, raise in the first proceeding. . . . preclusion based on collateral

estoppel grounds does not lie unless the issue was indeed actually litigated.” Leather v. Eyck, 180

F.3d 420, 426 (2d Cir. 1999). New York courts generally do “not accord collateral estoppel effect

to a statute of limitations dismissal.” Cepeda v. Coughlin, 785 F. Supp. 385, 390 (S.D.N.Y. 1992)

(denying motion to dismiss on collateral estoppel grounds because the prior claims dismissed on

statute of limitations grounds were not actually litigated).


10 To theextent that the Del Rosso Defendants claim that Plaintiffs’ causes of action are also time-
barred, see Del Rosso Br. at 4, those arguments likewise fail for the reasons explained in the
Omnibus Opposition at 43-46.


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       The Del Rosso Defendants argue that the North Carolina court already decided “whether

Azima had sufficient knowledge of the injuries to trigger the statute, but they claim that the

Complaint concerns hacking and/or concealment of hacking. Del Rosso Br. at 5–6. The Complaint

does not seek relief for the hacking Azima suffered seven years ago; it seeks relief for Defendants’

subsequent criminal activity, including their efforts to embroil Azima in costly litigation to drive

up legal fees, ruin his businesses, obtain a judgment against him, and prevent him from litigating

his claims. See, e.g., Compl. ¶ 207. Plaintiffs’ RICO claims accrued on the dates their injuries

occurred, without regard to the date of the initial hacking or when Azima became aware of it. See,

e.g., id. ¶ 180–81.

       Because this case is about different claims, different conduct and different injuries, the

North Carolina court could not, and did not, “actually decide” any issue that is “identical” to an

issue in the RICO case, and there was no “full and fair opportunity to litigate” any of this

Complaint’s allegations before the North Carolina court. LaFluer v. Whitman, 300 F.3d 256, 274

(2d. Cir. 2002). In fact, much of the conduct alleged here against the Del Rosso Defendants arose

after Azima filed the 2020 North Carolina Proceeding. See Compl. ¶¶ 151–52 (alleging that in

November 2020, Del Rosso created false evidence to cover up the Enterprise’s misconduct); id.

¶¶ 147–50, 153 (alleging that Del Rosso destroyed evidence and threatened a witness in the 2020

North Carolina Proceeding); id. ¶¶ 165–69 (alleging that in 2020, Del Rosso conspired with

Grayson to hack lawyers who threatened to expose the Enterprise); id. ¶¶ 172–74 (alleging in 2020

that Del Rosso paid a witness for false testimony via his lawyers, with the specific intention of

obstructing U.S. litigation and fabricated and destroyed evidence to avoid detection). Thus, Azima

could not have litigated those issues in the 2020 North Carolina Proceeding.




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       Furthermore, the Plaintiff Entities in this case are not parties to the 2020 North Carolina

Proceeding and have had no opportunity to litigate any issue there. Where a defendant seeks to

collaterally estop a plaintiff (who was not a party to the first proceeding) from “relitigating” an

issue in a second proceeding, the defendant must demonstrate that the plaintiff in the second action

“directed, controlled, or participated in” the previous cases or was in privity with a party in the

first case. Victorinox AG v. B&F Sys., Inc., 709 F. App’x 44, 50 (2d Cir. 2017). Here, the Plaintiff

Entities did not “direct[], control[], or participate[] in” the 2020 North Carolina Proceeding, and

the Del Rosso Defendants make no attempt to establish as much.

       The Del Rosso Defendants also mischaracterize the Complaint’s obstruction-related claims

as fraudulent concealment of the prior hacking of Azima, arguing that the North Carolina court

already ruled that the statute of limitations for Azima’s hacking claim could not be extended by

allegations of fraudulent concealment.11 See Del Rosso Br. at 7. This argument misstates both the

Complaint’s allegations and the North Carolina court’s ruling. The North Carolina court

considered whether the Del Rosso Defendants’ concealment of their hacking of Azima could toll

the statute of limitations for the hacking claim. See Azima v. Del Rosso, No. 20 Civ. 954, 2021 WL

6755013, at *6 (M.D.N.C. Aug. 9, 2021). Again, this case is not about a hacking claim; it is about

a fraud on the U.S. courts that was intended to (and did) harm Azima. The obstruction alleged in

this Complaint—much of which occurred after the 2020 North Carolina Proceeding was filed—

furthered the scheme to harm Azima through litigation; it did not merely conceal the Defendants’

prior hacking. See Compl. ¶¶ 147–53, 165–69, 172–74.12 Accordingly, a statute of limitations


11 The Del Rosso Defendants also argue their obstructive acts do not constitute predicate acts under
RICO, but they are incorrect. The RICO statute explicitly lists as predicate acts witness tampering
and obstruction of justice, of the kinds alleged here. See Omnibus Opp’n at 29-34.
12The North Carolina court ruling had nothing to do with RICO and was based on the law of
equitable tolling, which required Azima to have relied upon Defendants’ concealment in order for

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ruling based on different claims and different facts, many of which had not yet come to light,

cannot be an “identical” issue that has been “actually litigated and decided” and that Plaintiffs had

a “full and fair opportunity to litigate” under the collateral estoppel doctrine. See Epperson, 242

F.3d at 108; LaFluer v. Whitman, 300 F.3d at 274.

       C.      Res Judicata Does Not Bar Plaintiffs’ Claims.

       For the doctrine of res judicata to bar a claim in this case, the Del Rosso Defendants must

satisfy four requirements: “(1) a final judgment on the merits, (2) by a court of competent

jurisdiction, (3) in a case involving the same parties or their privies, and (4) involving the same

cause of action.” Horti Americas, LLC v. Jacob’s Vill. Farm Corp., No. 21-915-CV, 2022 WL

38719, at *2 (2d Cir. Jan. 5, 2022) (quoting Cho v. Blackberry Ltd., 991 F.3d 155, 168 (2d Cir.

2021)). “[T]he fact that both suits involved essentially the same course of wrongful conduct is not

decisive . . . nor is it dispositive that the two proceedings involved the same parties, similar or

overlapping facts, and similar legal issues.” S.E.C. v. First Jersey Sec. Inc., 101 F.3d 1450, 1463–

64 (2d Cir. 1996) (citations omitted). A prior judgment has preclusive effect “only where the

transaction . . . at issue in both suits is the same, that is ‘whe[re] the same evidence is needed to

support both claims, and whe[re] the facts essential to the second were present in the first.’” Id.

(citations and quotations omitted).

       The Del Rosso Defendants repackage their collateral estoppel argument as res judicata.

They baldly claim that the facts in the 2020 North Carolina Proceeding and this case are identical.




the statute of limitations related to his 2015 hacking-related claims to be tolled. Azima v. Del Rosso,
1:20CV954, 2021 WL 5861282, at *5 (M.D.N.C. Dec. 10, 2021). Here, Plaintiffs do not need to
meet the legal standard for equitable tolling based on fraudulent concealment, which applies
outside the RICO context. See, e.g., Nastasi & Assocs., Inc. v. Bloomberg, L.P., No. 20-CV-5428,
2022 WL 4448621, at *6 (S.D.N.Y. Sept. 23, 2022) (antitrust and negligence); Pinaud v. Cnty. of
Suffolk, 52 F.3d 1139, 1157 (2d Cir. 1995) (Section 1983).


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Del Rosso Br. at 8. They do not even attempt to apply the facts to the law—likely because they

cannot meet their burden to show that the affirmative defense applies. Austin, 453 F. App’x at 82–

83. This rhetoric is emblematic of the collective Defendants’ repeated distortions.13

       As a preliminary matter, the Complaint alleges a significant fraud on the U.S. court system,

much of which occurred after the 2020 North Carolina Proceeding was filed. Claims arising

subsequent to a prior action are not barred by res judicata, “regardless of whether they are premised

on facts representing a continuance of the same ‘course of conduct.’” Storey v. Cello Holdings,

L.L.C., 347 F.3d 370, 383 (2d Cir. 2003); St. Pierre v. Dyer, 208 F.3d 394, 400 (2d Cir. 2000) (a

previous judgment “‘cannot be given the effect of extinguishing claims which did not even then

exist and which could not possibly have been sued upon.’”) (quoting Lawlor v. Nat’l Screen Serv.

Corp., 349 U.S. 322, 328 (1955)). Here, it is primarily the Del Rosso Defendants misconduct after

the 2020 North Carolina Proceeding was filed that exposes them to liability, see Compl. ¶¶ 147–

53, 165–69, 172–74, and res judicata does not provide grounds for dismissal. See Storey, 347 F.3d

at 383; Bin Saud v. Bank of New York, 734 F. Supp. 628, 634 (S.D.N.Y. 1990).

       Furthermore, the Del Rosso Defendants cannot meet the res judicata requirements. First,

this RICO case and the 2020 North Carolina Proceeding do not involve the “same cause of action.”

See Horti Americas, LLC, 2022 WL 38719, at *2. To meet this element, “[i]t must first be

determined that the second suit involves the same ‘claim’—or ‘nucleus of operative fact’—as the

first suit.” Interoceanica Corp. v. Sound Pilots, Inc., 107 F.3d 86, 90 (2d Cir. 1997) (citation

omitted). “Whether or not the first judgment will have preclusive effect depends in part on whether


13 The Del Rosso Defendants also make the sweeping statement, with no legal support, that a party
cannot avoid the statute of limitations by changing its legal theory. Del Rosso Br. at 8. Plaintiffs
have not changed their theory. Put simply, their RICO case and the 2020 North Carolina
Proceeding are two different actions based on different legal theories stemming from different
facts, seeking different relief, involving different parties, and requiring different proof.


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the same transaction or connected series of transactions is at issue, [and] whether the same

evidence is needed to support both claims.” N.L.R.B. v. United Techs. Corp., 706 F.2d 1254, 1260

(2d Cir. 1983); see also Saud v. Bank of New York, 929 F.2d 916, 919 (2d Cir. 1991). Here, the

RICO action and the 2020 North Carolina Proceeding allege different causes of action that will

rely on different evidence to prove different facts. The Complaint alleges a broad campaign of

fraud and obstruction by the Del Rosso Defendants and their co-conspirators to ruin Plaintiffs

financially and reputationally. Compl. ¶¶ 61, 181. The 2020 North Carolina Proceeding, by

contrast, relates narrowly to the misappropriation of trade secrets and a related conspiracy.14

       The two cases also do not involve the same parties or their privies. This case was brought

by five plaintiffs against 11 Defendants. See Compl. ¶¶ 15–25. Azima and the Del Rosso

Defendants are the only parties to the 2020 North Carolina Proceeding. See Complaint ¶¶ 15–17;

20–25, Azima v. Del Rosso, No. 20-cv-954, (M.D.N.C. Oct. 15, 2020), ECF No. 1. The privity rule

only applies in six limited circumstances, none of which is relevant here. See Sacerdote v.

Cammack Larhette Advisors, LLC, 939 F.3d 498, 506 (2d Cir. 2019). The Del Rosso Defendants

do not even attempt to argue that they are in privity with any of the other Defendants. Finally,

Plaintiffs arguably could not have joined many of the other Defendants to the 2020 North Carolina

Proceeding, as they arguably lacked constitutionally adequate contacts with North Carolina.

                                          CONCLUSION

       Plaintiffs respectfully request that the Court deny the Motion to Dismiss in its entirety.




14 The Del Rosso Defendants have admitted in the 2020 North Carolina Proceeding that Plaintiffs’
RICO action “involve[s] a broader range of conduct” than the North Carolina lawsuit. See Defs.’
Mot. To Stay Disc., Azima v. Del Rosso, No. 20-cv-954, (M.D.N.C. Oct. 15, 2020), ECF No. 206
at 6. They also previously objected to introducing evidence of obstruction in North Carolina as
irrelevant to Azima’s claims. Id. at ECF No. 62 at 2, 5, 6.


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       New York, New York


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